Case: 1:17-cv-04412 Document #: 49-4 Filed: 12/05/17 Page 1 of 2 PageID #:1367




           EXHIBIT C
Case:
 Case:1:17-cv-04412
       1:17-cv-04412Document
                     Document#:#:49-4 Filed: 06/20/17
                                  8-4 Filed: 12/05/17 Page
                                                      Page 2
                                                           2 of
                                                             of 2
                                                                2 PageID
                                                                  PageID #:241
                                                                         #:1368




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